AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the




                                                                )
                             Plaintiff                          )
                                v.                              )      Case No.
                                                                )
                            Defendant                           )

                                                 APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court
                     :

                                                                                                                .


Date:
                                                                                      Attorney’s signature



                                                                                  Printed name and bar number




                                                                                             Address



                                                                                          E-mail address



                                                                                       Telephone number



                                                                                           FAX number




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